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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII


   GRAHAM T. CHELIUS, M.D, ET AL.,               CIV. NO. 17-00493 JAO-RT

                      Plaintiffs,

         vs.                                     ORDER GRANTING SUSAN
                                                 TALCOTT CAMP’S MOTION TO
   ALEX M. AZAR, J.D., ET AL.,                   WITHDRAW AS COUNSEL

                      Defendants.



                 ORDER GRANTING SUSAN TALCOTT CAMP’S
                   MOTION TO WITHDRAW AS COUNSEL

        Susan Talcott Camp seeks to withdraw as counsel for Plaintiffs in the instant

  case pursuant to Local Rule 83.5(b). The Court elects to decide the Motion to

  Withdraw as Counsel of Susan Talcott Camp [sic] (ECF No. 109) without a

  hearing pursuant to Local Rule 7.1(c). The Court finds that Ms. Camp has

  submitted satisfactory reasoning for the withdrawal, and that the granting of this

  Motion will not cause prejudice or delay to any Plaintiff.

        IT IS HEREBY ORDERED that the Motion to Withdraw as Counsel of

  Susan Talcott Camp [sic] (ECF No. 109) is GRANTED, and Susan Talcott Camp

  is hereby terminated as counsel in this proceeding.

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         IT IS SO ORDERED.

         DATED: Honolulu, Hawaii, May 14, 2020.




                                                /s/ Rom A. Trader
                                                Rom A. Trader
                                                United States Magistrate Judge




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  Civ. No. 17-00493 JAO-RT; Chelius, et al. v. Azar, et al.; Order Granting Susan Talcott Camp’s
  Motion to Withdraw as Counsel
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